                                                             Case 2:18-cv-02151-SVW-KS Document 108 Filed 09/27/18 Page 1 of 2 Page ID #:4197



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                                                                                           UNITED STATES DISTRICT COURT FOR THE
                                          Los Angeles, CA 90066




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                                                                                                CENTRAL DISTRICT OF CALIFORNIA
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                                                                        13   BLK. ENTERPRISES, LLC, a New           CASE NO. 2:18-cv-02151-SVW-KS
                                                                             York limited liability company,
                                                                        14                                          Honorable Stephen V. Wilson
                                                                                        Plaintiff,
                                                                        15                                          ORDER DENYING PLAINTIFF
                                                                                  v.                                BLKE’S NOTICE OF AND FIRST
                                                                        16                                          EX PARTE APPLICATION TO
                                                                             UNIX PACKAGING, INC., a                CONTINUE TRIAL DEADLINES
                                                                        17   California corporation, PHOEBE XU,     TO PERMIT RESOLUTION OF
                                                                             an individual, and JOHN DOES ONE       UNIX’S MOTION FOR A
                                                                        18   through TEN                            PROTECTIVE ORDER
                                                                                                                    REGARDING DEPOSITION
                                                                        19                                          QUESTIONS
                                                                                        Defendants.
                                                                        20
                                                                                                                    Final Pretrial Conference
                                                                        21   UNIX PACKAGING, INC., a
                                                                             California corporation,                October 22, 2018
                                                                        22              Counter-Claimant,           Trial Date:
                                                                        23        v.                                November 6, 2018
                                                                        24   BLK. ENTERPRISES, LLC, a New           First Amended Complaint Filed:
                                                                        25   York limited liability company,        February 9, 2018
                                                                        26              Counter-Defendant.

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                                                                                                                                    Case No. 2:18-cv-02151-SVW-KS
                                                                                                             PROPOSED ORDER
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                                                                        1         The Court having considered BLK. Enterprises, LLC (“BLKE”)’s Application
                                                                        2    for and good cause appearing, IT IS THEREFORE ORDERED that:
                                                                        3         1. The Pretrial Conference and Summary Judgment Hearing be continued from
                                                                        4            October 22, 2018 at 3:00 p.m. to November 19, 2018;
                                                                        5         2. The Trial Date is continued from November 6, 2018 until December 4, 2018
                                                                        6            at 9:00 a.m., and
                                                                        7         3. All other deadlines that are based on the trial date or the Court’s Civil Trial
                                                                        8            Preparation Order shall be based on the new date.
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Law Office of Ryan E. Hatch, PC




                                                                                  Dated: September 27, 2018
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                                                                        10                                                 ____________________________
                                                                                                                           Hon. Stephen V. Wilson
                                          Los Angeles, CA 90066




                                                                        11                                                 United States District Judge
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                                                                                                               PROPOSED ORDER
